                                                                            f~LED
                                                                          OEC 312019
                 UNITED STATES DISTRICT COURT         PETERA.MOORE;JR.,CLERK
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA BYUS DIS~OURT,JJ>P~LK
                       EASTERN DIVISION

                             No. 4:13-CR-6-B0-1
                             No. 4:19-CV-143-BO


TRON LAKEY DAVIS,                       )
                                        )
            Movant,                     )
                                        )
vs.                                     )
                                        )
United States of America,               )
                                        )
            Respondent.                 )


      OBJECTIONS TO UNITED STATES' MEMORANDUM OF LAW OF ITS
      MOTION TO DISMISS PETITIONER'S MOTION UNDER 28 U.S.C. § 2255

      COMES Movant, TRON LAKEY DAVIS ("Davis"), appearing pro se, and

files objections to United States' Motion to Dismiss ("Motion to Dismiss") Davis'

Motion under 28 U.S.C. § 2255(f)(3) ("§ 2255(f)(3) Motion") as follows:

                      I. PRELIMINARY STATEMENT

      As a preliminary matter, Davis respectfully requests that this Court be

mindful that pro se complaints are to be held "to less stringent standards than

formal pleadings drafted by lawyers," and should therefore be liberally

construed. See Clark v. Cartledge, 829 F.3d 303 (4th Cir. 2016); Estelle v . ..


                                        1
-II ~>~)
         I
             /
    ./

                 Gamble, 429 U.S. 97 (1976) (same); and Haines v. Kerner, 404 U.S. 519

                 (1972) (same). Secondly, Davis adopts by reference and in whole his

                 arguments previously filed in his § 2255(f)(3) Motion. See Doc. 143. 1
                                      (




                  II. OBJECTIONS TO MOTION TO DISMISS § 2255(F)(3) MOTION

                        The Motion to Dismiss § 2241 Petition is divided into four :C 4) main

                 sections: (1) Background; (2) Argument; and (3) Conclusion. See Doc. 149.

                 Davis will reply to each section sequentially as follows:

                                                        BACKGROUND

                        The government gives a fair and accurate summation of the relevant

                 procedural background in this case. Id at 2-3. Davis does not object to this

                 section, except for the United States' opinion that his § 2255(f)(3) Motion

                 must be dismissed, which will be discussed below.

                                                          ARGUMENT

                        1.      Petitioner's claim that his § 924( c) conviction should be
                                vacated is without merit.

                        In this case, Davis argues sentence reduction in light of United States

                 v. Davis, 139 S. Ct. 2319 (2019), arguing that career offender enhancement



                        "Doc." refers to the Docket Report in the United States District Court for the Eastern District
                 of North Carolina, Eastern Division in Criminal No. 4:13-cr-00006-B0-1, which is immediately
                 followed by the Docket Entry Number.

                                                                   2
'-   '"-/'
         /
     /

             must be vacated for resentencing because the predicate offense of "robbery"

             no longer categorically qualifies as a "crime of violence".

                     However, the government opined that "Davis decision is irrelevant in

             Petitioner's case. Petitioner's predicate§ 924(c) conviction on Count Six is

             a controlled substance offense not a crime of violence. Thus, Hobbs Act

             robbery is not implicated in Petitioner's sentence. Therefore, the Court should

             deny and dismiss Petitioner's motion to vacate for failure to state a claim." Id.

             at 4.

                     It is essential to note that Davis, in his § 2255(f)(3) Motion, was

             contesting the validity of his career offender enhancement (not his § 924( c)

             gun charge conviCtion on Count 7), which played a substantial part in

             calculating his offense level on Count 6 of the Indictment.

                     In Davis, the United States Supreme Court held that 18 U.S.C. §

             924(~)(3)(B)   is unconstitutionally vague. Justice Gorsuch wrote the 5 to 4

             opinion of the Court, joined by Justices Ginsburg, Breyer, Sotomayor, and

             Kagan. Justice Kavanaugh dissented, joined by Justices Thomas and Alito,

             and by Chief Justice Roberts as to all but Part II-C.

                     In Davis, Maurice Davis and Andre Glover argued that Hobbs Act

             robbery and conspiracy to commit Hobbs Act robbery did not qualify as

                                                     3
 .
~i.:;_,.H   !
            I



        /
                cnmes of violence under § 924(c)(3)(A)'s elements clause and that §

                924(c)(3)(B)'s residual clause definition of "crime of violence" is

                unconstitutionally vague. The district court denied the motions and imposed

                a consecutive term of 120 months imprisonmenf on the first§ 924(c) count,

                and a consecutive term of 3 00 months on the second § 924( c) count, to run

                consecutive to each respondents' term of imprisonment for the other counts.

                After the court of appeals affirmed, the Supreme Court decided Sessions v.

                Dimaya, 138 S.Ct. 1204 (2018) (holding the residual clause of "crime of

                violence" definition in 18 U.S.C. § 16(b) is unconstitutionally vague). The

                Court granted respondents' then-pending petitions for certiorari, vacated the

                judgements of the court of appeals, and remanded for further consideration in

                light of Dimaya. The court of appeals struck down § 924(c)(3)(B) as

                unconstitutionally vague and concluded that conspiracy to commit Hobbs Act

                robbery could only qualify as a "crime of violence" under§ 924(c)(3)(B).

                      The residual clause definition of "crime of violence" in § 924( c) is

                substantially similar to the residual clause definition of"violent felony" in the

                Armed Career Criminal Act, and nearly identical to the residual clause

                definition of"crime of violence" in 18 U.S.C. § l 6(b ), which the Court found

                unconstitutionally vague in Johnson v. United States, 135 S. Ct. 2551 (2015)

                                                        4
 and Dimaya, respectively. In each of those cases, judges were required to use

 a "categorical approach" to determine whether an offense qualified as a

 violent felony or crime of violence-meaning that judges had to disregard

 how the defendant actually committed the offense and instead imagine the

 degree of risk that would attend the idealized "ordinary case" of the offense.

       In Davis, although the courts and government had long understood §

 924(c)(3)(B) to require the same categorical approach, the government urged

 the Court to instead require a "case-specific approach" which looks to the

 actual conduct of the defendant for which the defendant is being prosecuted

. and let the jury decide it (or defendant admit to it in his plea). The Court

 rejected the government's invitation to abandon the categorical approach,

 finding no support for the government's alternative "case specific" approach

 in § 924( c)s text, context, and history.

       Accordingly, Davis' prior convictions for Common Law Robbery and

 Robbery with Dangerous Weapon are not "crimes of violence." See United

 States v. Davis, 139 S. Ct. 2319, 2336 (2019), holding that§ 924(c)(3)(B) is

 unconstitutionally vague. The Court refers to this clause as the "risk-of-force

 clause. Davis is actually innocent of career offender enhancement, hence, he

 should be resentenced without the said enhancement.

                                         5
""'
      I'   l
           J
      ·/
       /
                     In light of Davis, Davis' career offender enhancement must be vacated

               because the predicate convictions-Common Law Robbery and Robbery with

               Dangerous Weapon are not a "crimes of violence." The Fifth Amendment's

               proscription against depriving an individual of life, liberty, or property

               without due process of law supplies the rationale for the void-for-vagueness

               doctrine. Under it, the government may not impose sanctions "under a

               criminal law so vague that it fails to give ordinary people fair notice of the

               conduct it punishes, or so standardless that it invites arbitrary enforcement."

               Welch v. United States, 136 S. Ct. 1257, 1262 (2016)(quoting Johnson, 135

               S. Ct. at 2556).

                     As argues in Davis' § 2255(f)(3) Motion, Davis is substantially relevant

               in regard to Davis' arguments, making clear indication that the interpretation

               of statutes by district courts are contrary to the Congress' intent. Further, the

               statutes are too ambiguous to secure a conviction. The same applies to Davis'

               circumstance.

                     Without Davis' career offender enhancement, Davis' Total Offense

               Level would have been level 3, in Criminal History Category V, which yield

               an advisory Guideline range of2 to 8 months' imprisonment on Count 6, plus

               a mandatory 60-month sentence on Count 7, for a total term of 62 months- a

               significantly less harsh sentence.

                                                       6
._ -·-' . !
           j




       /
     J
                    Finally, Davis asserts that the increase in the calculation of his

               sentencing range based on the career offender enhancement, resulted in a

               longer sentence. If so, this could be deemed a miscarriage of justice.

                    2.    Petitioner also procedurally defaulted on his § 2255 claim
                          that his § 924(c) conviction should be vacated.
                                                                                        I


                    The Fourth Circuit holds Plea Agreement waiver does not block

               Johnson/Dimaya/Davis claims. See UnitedStatesv. Cornette, 2019 U.S. App.

               LEXIS 22554 (4th Cir. July 30, 2019). In Cornette, Randall Cornette,

               convicted of a felon-in-possession charge, challenged his Armed Career

               Criminal Act sentence. The trial court had relied on some old Georgia

               burglaries that   Ra~dy   said could no longer count ·under Johnson. The

               government replied that Randy had signed a plea agreement waiver that

               prevented him from raising a Johnson issue.

                    Recently, the Fourth Circuit ruled that a plea agreement waiver does not

               prevent a defendant from taking advantage of Supreme Court decisions like

               Johnson or Davis. The appeals court ruled that an otherwise valid appeal

               waiver did not bar Randy from now arguing that by imposing a sentence under

               the unconstitutional residual clause of the ACCA, the district court exceeded

               its statutory authority to sentence him.



                                                     7
                    \

....... i   I       I~
                )
            j




                               The Court said that an appeal waiver does not preclude a defendant from

                         challenging a sentence "based on a constitutionally impermissible factor" or

                         "a sentence imposed in excess of the maximum penalty provided by statute."

                         -Randy's sentence challenge is based on the assertion that the district court did

                         not have the statutory authority to impose the sentence under to the residual

                         clause. Because Johnson was made retroactive by the Supreme Court, the

                         Circuit said, "all sentences rendered under the residual clause became

                         unconstitutional. Therefore, Randy's sentence was imposed in excess of the

                         maximum penalty provided by ACCA."

                               The Fourth said that this doesn't mean that a non-retroactive change in

                         the law, like Booker or Alleyne, can be challenged where there is a

                         collateral-attack waiver. But where a Supreme Court case (like Davis, for

                         instance) "announces a substantive rule that applies retroactively, the district

                         court is now deemed to have had no statutory authority to impose [a]

                         sentence," and a court may review a sentencing challenge "notwithstanding

                         the appeal waiver."

                               Accordingly, same should apply in this case.




                                                                 8
J. . •t <
            \,.
.~          !




                                                 CONCLUSION

                        In its conclusion, the government submits that the Court dismiss Davis'

                  § 2255(f)(3) Motion, pursuant to Federal Rule of Civil Procedure 12(b)(6).

                  However, for the above and foregoing reasons, Davis respectfully requests

                  that the Court consider his response in opposition to motion to dismiss and .

                  hold an evidentiary hearing so that he may further prove his meritorious

                  grounds for relief, resolve facts in dispute between the parties, and expand an

                  incomplete record.

                                                             Respectfully submitted,




                  Dated: Decemberl_k__, 2019.

                                                             REG. NO. 57361-056
                                                             FCI WILLIAMSBURG
                                                             FEDERAL CORR. INSTITUTION
                                                             P.O. BOX 340
                                                             SALTERS, SC 29590
                                                             Appearing Pro Se




                                                         9
~ ~. ~,'       .



      {
          !'
  )

                                     CERTIFICATE OF SERVICE

                      I hereby certify that on December l .6, 2019, a true and correct copy of
               the above and foregoing Objections to United States' Memorandum of Law
               of its Motion to Dismiss Petitioner's Motion under 28 U.S.C. § 2255 was
               mailed, postage prepaid, to Michael G. James, Assistant U.S. Attorney at U.S.
               Attorney's Office, 150 Fayetteville Street, Suite 2100, Raleigh, NC 27601.




                                                          TRON LAKEY DAVIS




                                                     10
